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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

Brianna Boe, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
and                                      )
                                         )
United States of America,                )
                                         )
        Plaintiff-Intervenor,            )
                                         )
v.                                       ) No. 2:22-cv-00184-LCB-CWB
                                         )
Hon. Steve Marshall, in his official     )
capacity as Attorney General of the      )
State of Alabama, et al.,                )
                                         )
        Defendants.                      )


  [JOINT PROPOSED] ORDER AMENDING PROTECTIVE AND HIPAA
                         ORDERS

        For good cause shown, the Court AMENDS the Stipulated Protective Order

(doc. 137) and Stipulated HIPAA Qualified Protective Order (doc. 138) as follows:

        This Court previously entered the parties’ Stipulated Protective Order and

Stipulated HIPAA Qualified Protective Order that, among other things, protected the

confidentiality of the Plaintiffs’ medical records and the pseudonymous Plaintiffs’

identities.
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      On the joint motion of the parties, and for good cause shown, the Court’s

Stipulated Protective Order (doc. 137) and Stipulated HIPAA Qualified Protective

Order (doc. 138) are amended to provide that such orders do not prohibit the parties

from issuing a subpoena to a non-party health care provider seeking a plaintiff’s

medical records, deposing such a health care provider concerning his or her

treatment of a plaintiff, or presenting a plaintiff’s medical records to such plaintiffs’

health care provider to facilitate questioning.

      Any documents or testimony allowed by this amendment shall remain

protected by the Court’s protective and HIPAA orders and shall be treated as

“Confidential – Attorneys’ Eyes Only” under such orders.

      DONE and ORDERED.


Dated: _________                         _________________________
                                         LILES C. BURKE
                                         UNITED STATES DISTRICT JUDGE




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